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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                            No. 19 Civ. 9291

 MICHEL COHEN, SOTHEBY’S                              COMPLAINT
 FINANCIAL SERVICES, INC.,                            IN INTERPLEADER
 and JOHN DOES 1-10,

               Defendants in Interpleader.



       Plaintiff the United States of America, by its attorney, Geoffrey S. Berman, United States

Attorney for the Southern District of New York, alleges upon information and belief as follows:

                                       INTRODUCTION

       1.      The United States brings this civil action in interpleader under Rule 22 of the

Federal Rules of Civil Procedure to seek a judicial determination of the rights to an acrylic

painting by the renowned 20th-Century artist Jean Dubuffet (“Dubuffet”), entitled “Site avec 5

personnages” (the “Painting”), which is currently in the possession of the Federal Bureau of

Investigation (“FBI”). (A color image of the Painting is attached hereto as an exhibit.)
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       2.      Born in 1901, Dubuffet became a highly prolific and successful painter who was

active in both France and the United States until his death in 1985. Hailed as an avant-garde

experimenter, he is considered the founder of “Art Brut,” or “raw art,” a movement focused on

producing “outsider” art freed from academic conventions, such as graffiti and work by the

insane, the incarcerated, and children.

       3.      As explained below, the Government is subject to competing potential claims to

the Painting from the above-named Interpleader-Defendants, and therefore has a legitimate fear

of multiple liability with respect to the Painting. The Government wishes to divest itself of the

Painting, which was last known to be the personal property of Interpleader-Defendant Michel

Cohen (“Cohen”), a fugitive from law who is a judgment debtor to at least one other named

Interpleader-Defendant and who initially came to be in possession of the Painting in 1996 under

unknown circumstances. However, the Government cannot determine, without hazard to itself,

how to proceed.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over the Government’s Complaint in

Interpleader pursuant to 28 U.S.C. § 1345.

       5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1397.

       6.      This Court has personal jurisdiction over the Defendants pursuant to 28 U.S.C.

§ 2361, which provides that, in any action of interpleader, a district court may issue its process

for all claimants and enter an order restraining them from instituting or prosecuting any federal

or state proceeding affecting the property involved.

       7.      Personal jurisdiction over the Defendants also exists pursuant to 28 U.S.C.

§ 1655, which provides that the Court, in an action related to enforcement of a claim to personal



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property, may order any absent defendant who cannot be served or does not voluntarily appear to

be constructively served with notice to appear or plead by a date certain. See Bache Halsey

Stuart Shields Inc. v. Garmaise, 519 F. Supp. 682, 686 (S.D.N.Y. 1981) (applying § 1655 to

interpleader actions and citing cases).

                                            PARTIES

       8.      Plaintiff is the United States of America, acting by and through its agencies,

including the FBI.

       9.      Interpleader-Defendant Cohen is a resident of Brazil, where he has been present

and has intended to remain since at least 2003, as a fugitive from charges of mail and wire fraud

that were set forth in an indictment in United States v. Cohen, No. 03 Cr. 674 (S.D.N.Y.).

       10.     Interpleader-Defendant Sotheby’s Financial Services, Inc. (“Sotheby’s”) is a

Nevada corporation headquartered in New York City and is a major art-financing company that

is affiliated with the global auction house and art broker of the same name.

       11.     Interpleader-Defendants John Does 1-10 are individuals or entities, whose

identities are unknown to the United States at this time, that owned and/or had other property

interests in the Painting prior to 1996 and/or are present creditors of Cohen.

                                  FACTUAL BACKGROUND

       Cohen’s Fraud

       12.     Until approximately 2001, Cohen was a prominent art dealer who, operating

principally in New York City and Malibu, California, was involved in numerous transactions

involving famous and valuable works of art with major international art galleries, collectors, and

investors.




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       13.     As alleged in the indictment in United States v. Cohen, No. 03 Cr. 674

(S.D.N.Y.), Cohen fraudulently obtained millions of dollars from these business partners,

including by inducing galleries and collectors to consign to him paintings and other artworks by

artists including, among others, Pablo Picasso, Marc Chagall, and Claude Monet. But Cohen

knew payment for these artworks would not be forthcoming, and Cohen also duped investors

into financing purported purchases of other artworks when Cohen knew no such bona fide

transactions would take place.

       14.     Media reports have estimated that Cohen obtained a total of over $50 million

from his activities defrauding his numerous victims.

       15.     Sotheby’s was among those victims, and was defrauded of millions of dollars in

funds that it provided to Cohen in order to acquire art.

       16.     By early 2001, Cohen’s fraud was uncovered, and he went into hiding.

       17.     In 2001, Sotheby’s filed suit against Cohen and eventually obtained a judgment

against him in or around March 2002 in New York Supreme Court for New York County in the

amount of $1,490.674.79.

       18.     Based on this judgment, on June 18, 2001, Sotheby’s filed a lien against Cohen in

New York County.

       19.     John Does #1-5 are other individuals or entities who remain unknown to the

United States at this time that Cohen has defrauded and/or who may be creditors of Cohen.

       Cohen as Fugitive from the Law

       20.     On April 13, 2001, while his whereabouts were still unknown, Cohen was

charged by criminal complaint in this District, see United States v. Cohen, No. 03 Cr. 674, for

interstate transportation of stolen property and fraud.



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       21.     On May 6, 2003, Cohen was apprehended by local authorities in Rio de Janeiro,

Brazil, and held pending extradition.

       22.     On May 28, 2003, a federal grand jury empaneled in this District indicted Cohen

on 24 counts of mail and wire fraud, and a warrant was issued for his arrest. See United States v.

Cohen, No. 03 Cr. 674.

       23.     On December 8, 2003, Cohen again became a fugitive, when he escaped from

Brazilian custody while he was being transported to a hospital for an examination.

       24.     Brazil’s Supreme Court has subsequently ruled that Cohen is not subject to

extradition to the United States because he is now the father of, and source of material support

for, a Brazilian citizen, who evidently had been born in Brazil during Cohen’s stay in the

country.

       25.     To date, Cohen remains a fugitive at large from the United States and is present,

and intends to remain, in Brazil. He does not intend to appear for this or any other legal

proceeding in New York or the United States, and he cannot be personally served.

       The Painting, Its Known Provenance, and Its Acquisition by the FBI

       26.     The Painting is one of a series of largely abstract canvases that Dubuffet executed

later in his career depicting Paris streetscapes and Parisian characters, or “personnages,” through

bold and seemingly crude, red, white, black, and blue images. It is a work of acrylic on paper

mounted on canvas, and measures 26 3/8 inches by 19 5/8 inches, and was completed on June

21, 1981. Its catalogue raisonné (a comprehensive, annotated listing of all known artworks by a

particular artist) number is E183, in Catalogue des travaux de Jean Dubuffet : Psycho-sites

(1981 - 1982), fasc. XXXIV.




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       27.     Similar paintings from the same series have sold at public auction in recent years

for hundreds of thousands of dollars.

       28.     The FBI, which had been investigating Cohen’s alleged fraud and other unlawful

activities since 2000, came into possession of the Painting on February 15, 2001, after

interviewing Jerry Solomon (“Solomon”), an Upper East Side dealer specializing in Modern

European and Postwar American paintings.

       29.     During the interview, Solomon informed the FBI agents that on or about January

6, 2001, Cohen had left the Painting with Solomon in order for Solomon to attempt its sale.

Solomon related that Cohen had told him that the owner of the Painting was an individual named

Don Rubin (“Rubin”), another New York art dealer.

       30.     Solomon recounted that he had prior transactions with Cohen but, when he

became aware of media reports of Cohen’s alleged fraud, he contacted the FBI to request that the

FBI take possession of the Painting.

       31.     Solomon handed the Painting over to the custody of the FBI at the end of the

February 15, 2001, interview.

       32.     The FBI subsequently learned from Rubin that he had purchased the Painting

from Cohen in 1996, but had sold it back to Cohen on June 27, 2000, for the sum of $75,000,

which was paid in or around November or December 2000 as part of a larger wire transfer.

Rubin informed the FBI that he had transacted art deals with and lent money to Cohen in the

past, resulting in losses of hundreds of thousands of dollars to Rubin.

       33.     Rubin informed the FBI on June 13, 2016, that he does not consider himself the

owner of the Painting and in no way wishes to assert a claim over it.




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       34.     The exact and complete provenance of the Painting prior to 1996, when Cohen

first sold it to Rubin, is unclear. Upon information and belief, the Painting was at one point the

property of the estate of Dubuffet, who died in 1985, and an art gallery in Paris, France, the

Galerie Malingue, facilitated the Painting’s sale to a purchaser located in Asia in or around May

1993. The identity of this purchaser, and the identity of any other individuals who may have

owned the Painting at any time before it came into Cohen’s possession, John Does #6-10, is

unknown to the Government at this time.

       35.     It is unknown how and when Cohen first came into possession of the Painting.

       36.     Upon information and belief, Cohen has never made any attempt to reclaim

possession or continue to assert title to the Painting after depositing it with Solomon for potential

sale in January 200,1 and since Cohen has been living as a fugitive.

       37.     As a result, Cohen may have constructively abandoned the Painting as a matter of

New York law.

                  ADVERSE CLAIMS AND NEED FOR INTERPLEADER

       38.     Interpleader-Defendant Cohen, upon information and belief and based on the

FBI’s understanding that he re-purchased the Painting in 2000, may continue to assert title to the

Painting as his personal property notwithstanding his possible abandonment of it as a matter of

New York law.

       39.     Interpleader-Defendant Sotheby’s is a judgment-creditor of Interpleader-

Defendant Cohen.

       40.     Interpleader-Defendants John Does 1-5 are individuals or entities who are

possible creditors of Interpleader-Defendant Cohen.




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        41.      Interpleader-Defendants John Does 6-10 are individuals or entities who may have

owned or otherwise had property rights to the Painting prior to 1996 and who may therefore have

claims of title to the Painting.

        42.      The United States remains in possession of the Painting, which was initially

recovered in New York County.

        43.      The Painting is personal property that, under Section 5201 of New York’s Civil

Practice Law and Rules, may be subject to enforcement in satisfaction of any judgments held

against Cohen.

        44.      In light of the foregoing, the United States is subject to uncertainty as to the

ownership of the Painting and is subject to real and potential competing claims thereto. The

United States cannot determine which of the Defendants in Interpleader is entitled to take legal

possession of the Painting.

        45.      The United States may be subject to double or multiple liability with respect to

the Painting, as each Interpleader-Defendant may claim an interest in, or ownership of, the

Painting.

        46.      The United States may seek to deposit the Painting with the Court, or to seek and

abide by a determination by the Court as to how, where, and by whom the Painting should be

held in custody during the pendency of this matter to ensure the Painting is properly maintained

and preserved.

        47.      The United States files this interpleader action in good faith and without any

collusion with any parties thereto.

        WHEREFORE, the United States respectfully prays for judgment against the

Defendants in Interpleader and each of them as follows:



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Exhibit to Complaint in Interpleader
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